                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF OREGON

In re                                     )
                                          )             17-34449-dwh12 (Lead Case); 17-34446-dwh12
                                              Case No. _________________
Steven S. and Brenda K. Sobella;          )
and Sobella Nursery, Inc.                 )   NOTICE OF FINAL
                                          )   HEARING ON MOTION
                                          )     FOR USE OF CASH COLLATERAL
                                          )     TO OBTAIN CREDIT
Debtor(s)                                 )   (Check One)

YOU ARE NOTIFIED THAT:

1. The undersigned moving party, ______________________________________________,
                                    Steven S. and Brenda K. Sobella; and Sobella Nursery, Inc. filed a
Motion     For Use of Cash Collateral    To Obtain Credit (check one). A copy of the motion, which
includes the statement required by Local Form #541.5, is attached.

2.   The name and service address of the moving party's attorney (or moving party, if no attorney) are:
_________________________________________________________________________________.
Robert J Vanden Bos, 319 SW Washington, Ste. 520, Portland, OR 97204

3. A FINAL HEARING on the motion WILL BE HELD ON ________________ 12/18/17        AT_______________
                                                                                          1:30 pm
   Courtroom  3 of the US Bankruptcy   Court, 1001 SW 5th Ave., Ste. 700, Portland,
IN _______________________________________________________________________________, OR 97204
Testimony will be received if offered and admissible.

4. If you wish to object to the motion, you must, within 14 days of the service date shown in pt. 5 below,
file with the Clerk of Court (i.e., if the 5-digit portion of the Case No. begins with "3" or "4", mail to 1001
SW 5th Ave #700, Portland OR 97204; or if it begins with "6" or "7", mail to 405 E 8th Ave #2600, Eugene
OR 97401): (1) a written response which states the facts upon which you will rely, and (2) a certificate
showing a copy of the response has been served on the U.S. Trustee and the party named in pt. 2
above.

5. On __________
           12/06/17 copies of this notice and the motion were served pursuant to FRBP 7004 on the
debtor(s); any debtor's attorney; any trustee; any trustee's attorney; members of any committee elected
pursuant to 11 U.S.C. §705; any creditors' committee chairperson [or, if none serving, on all creditors
listed on the list filed pursuant to FRBP 1007(d)]; any creditors' committee attorney; the U.S. Trustee;
and all affected lien holders whose names and addresses used for service are as follows:
See Attached List.




                          /s/Robert J Vanden Bos                                             718002
                         Signature of Moving Party or Attorney                              OSB #
                         29830 SE Wheeler Rd., Boring, OR 97009 - SSNs 3634 & 3013
                         ______________________________________________________________
                         (If debtor is movant) Debtor’s Address & Taxpayer ID#(s) (last 4 digits)

541 (6/1/15)


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In re Steven S. and Brenda K. Sobella;
Ch 12 Bankruptcy Case No. 17-34449-tmb12
Service List



Steven S. Sobella
Brenda K. Sobella
29830 SE Wheeler Rd.
Boring, OR 97009

Special Notice:

PRA Receivables Management
LLC, PO Box 41021,
Norfolk, VA 23541

Lien Creditor:

Northwest Farm Credit Services
Headquarters
2001 South Flint Road
PO Box 2515
Spokane, WA 99220-2515

Northwest Farm Credit Services
Attn: Ustina Zenuhin
650 Hawthorne Ave SE, Ste 210
Salem, OR 97301

Northwest Farm Credit Services, PCA
c/o Phil DiPofi, President & CEO
1700 S Assembly St
Spokane, WA 99224

Northwest Farm Credit Services, PCA
c/o Phil DiPofi, President & CEO
2001 S. Flint Red.
Spokane, WA 99224-9198

Northwest Farm Credit Services, PCA
PO Box 13309
Salem, OR 97309

Northwest Farm Credit Services, PCA
2345 NW Amberbrook Dr., Ste 100
Beaverton, OR 97006




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    Robert J Vanden Bos, OSB #781002
    Douglas R. Ricks, OSB #044026
    VANDEN BOS & CHAPMAN, LLP
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    Telephone: 503-241-4861
    Fax: 503-241-3731

    Of Attorneys for Debtors Steven S. and Brenda K. Sobella

    Nicholas J Henderson, OSB #074027
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    Portland, OR 97204
    Telephone: 503-417-0508
    Fax: 503-417-0528
    Email: nhenderson@portlaw.com

    Of Attorneys for Debtor Sobella Nursery, Inc.



                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

     In re                                        Bankruptcy Case Nos.:

     Steven S. Sobella                            17-34449-dwh12 (Lead Case)
     Brenda K. Sobella; and
     Sobella Nursery, Inc.,                       17-34446-dwh12

                                                  Jointly Administered Under
                                                  Case No. 17-34449-dwh12

                                                  JOINT MOTION FOR INTERIM ORDER
                                                  AUTHORIZING USE OF CASH COLLATERAL OF
                                                  DEBTOR-IN-POSSESSION AND GRANTING
                                                  ADEQUATE PROTECTION AND REQUEST FOR
                                                  PRELIMINARY HEARING (11/30/17 – 01/05/18)
                     Debtors.                     (Expedited Hearing Requested)

              The above-captioned Debtors (collectively “Debtors”), pursuant to Sections 105(a)

    and 363 of the Bankruptcy Code, Bankruptcy Rule 4001, and LBR 4001-1(c), move the


Page 1 of 6    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL OF
               DEBTOR-IN-POSSESSION AND GRANTING ADEQUATE PROTECTION AND REQUEST FOR
               PRELIMINARY HEARING (11/30/17 – 01/05/18) (Expedited Hearing Requested)

                          Case 17-34449-dwh12      Doc 21    Filed 12/06/17
    Court for entry of an interim order authorizing use of cash collateral as defined by §363(a) of

    the Bankruptcy Code ("Cash Collateral"), and, in support, represents and states as follows:

              On November 30, 2017, Debtors commenced Chapter 12 cases by the filing of

    voluntary petitions under Chapter 12 of the United States Bankruptcy Code. Pursuant to

    § 1203 of the Code, Debtors are continuing in possession of their property and are

    operating and managing their business.

                                         DEBTORS’ BUSINESS:

              Debtor, Sobella Nursery, Inc. (“Sobella Nursery”) operates a nursery business in

    Boring, Oregon and currently employs about nine (9) employees. Debtors, Steven S. and

    Brenda K. Sobella (the “Sobellas”) are the owners of Sobella Nursery. Sobella Nursery

    grows and sells ornamental nursery stock to retail nurseries. Sobella Nursery has long-time

    customer relationships for purchase of its products. If Sobella Nursery is unable to pay its

    employees, the employees will suffer hardship and likely cease working. If Sobella Nursery

    fails to maintain its relationship with its core buyers and fulfill its pending orders, it will lose

    goodwill with its customers and likely lose substantial amounts of business. Debtor has

    pending orders in excess of $500,000 for existing inventory. The loss of the revenue stream

    from those sources would inhibit a successful reorganization and devalue the estate

    significantly.

                  PARTIES WITH POTENTIAL INTERESTS IN CASH COLLATERAL:

              The following entities may claim a lien in the Cash Collateral based upon UCC

    financing statements on file with the Oregon Secretary of State:

    ///
    ///
    ///
Page 2 of 6    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL OF
               DEBTOR-IN-POSSESSION AND GRANTING ADEQUATE PROTECTION AND REQUEST FOR
               PRELIMINARY HEARING (11/30/17 – 01/05/18) (Expedited Hearing Requested)

                          Case 17-34449-dwh12        Doc 21     Filed 12/06/17
            Secured Creditor             UCC Nos             Collateral                County
     Northwest Farm Credit              7466918-1   Nursery Stock (and products)   Clackamas
     Services, PCA                      7466918-2   (Farm Product Code 0907)       (County Code 03)
     6750 Hawthorne Avenue SE,          7466918-3
     Ste. 210
     Salem, OR 97309

              According to Debtors’ records, the amounts owed to the UCC Lien Creditors

    are as follows:

               Secured Creditor                           Amount
               Northwest Farm Credit Services, PCA        $1,390,431.37
               6750 Hawthorne Avenue SE, Ste. 210
               Salem, OR 97309

              Other than the liens noted above, Debtors are not aware of any parties holding an

    interest in Cash Collateral. The Secured Creditor listed above also holds deeds of trust

    against Debtors’ real properties.

              To preserve the value of Debtors’ business as a going concern, Debtors require the

    use of cash generated from the business to pay its operating expenses, including wages of

    its employees. In addition, Sobellas maintain a deposit account at Northwest Farm Credit

    Services, PCA, known as the Future Payment Fund (“FPF Account”). Debtors require turn

    over and use of the funds held in the FPF Account for operating expenses.

              In order to formulate it Chapter 12 Plan, Debtor requires the use of Cash Collateral

    for the payment of wages, salaries and operating expenses. Debtor proposes to use Cash

    Collateral for the period from November 30, 2017 through and including January 5, 2018 in

    the amount $91,577.00 and from January 6, 2018 through and including April 22, 2018 in

    the amount of $336,737.00 on the terms set forth in the proposed Interim Order Authorizing

    Use of Cash Collateral attached hereto as Exhibit A. Debtors’ projected 30-day and 120-

    day operating expense budgets are attached to Exhibit A, marked Exhibit 1, respectively
Page 3 of 6    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL OF
               DEBTOR-IN-POSSESSION AND GRANTING ADEQUATE PROTECTION AND REQUEST FOR
               PRELIMINARY HEARING (11/30/17 – 01/05/18) (Expedited Hearing Requested)

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    (collectively, the “Budget”). Such Cash Collateral includes, but is not limited to, any

    uncashed checks made payable to the Debtors and/or electronic funds in transit.

              Debtors have made reasonable efforts to secure alternative financing. Debtors are

    unable to obtain necessary financial accommodations for the expenses shown in Exhibit 1

    from any source.

              After reasonable efforts, Debtors are unable pursuant to § 364(a) or (b) of the

    Bankruptcy Code, to obtain unsecured credit allowable under § 503(b)(1) of the Code as an

    administrative expense.

              Allowing Debtors to use Cash Collateral on the terms set forth in the proposed

    Interim Order Authorizing Use of Cash Collateral attached hereto as Exhibit A will preserve

    Debtors’ going concern value, maximize the value of the Debtors’ assets for the estate, will

    increase the probability of a successful business plan, and is in the best interests of the

    creditors and this estate.

              Without the use of Cash Collateral, Debtors have insufficient funds to meet its

    expenses as itemized in Exhibit 1. Debtors have an immediate need for Cash Collateral to

    pay its payroll and other operating expenses and provide deposits to utilities as needed

    under 11 U.S.C. § 366 all of which will preserve the value of its business.

              Debtors will suffer immediate and irreparable harm in that profits will be significantly

    reduced or eliminated and the value of the estate will be substantially diminished if Debtors

    are not permitted to use the Cash Collateral of $91,577 .00 on an interim basis, in the

    amounts and for the purposes set forth in the Budget, to meet its necessary and ordinary

    course post-petition operating expenses prior to the time prescribed by FRBP 4001(b)(2) for

    a final hearing on Debtors’ motion for authority to use Cash Collateral.


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               DEBTOR-IN-POSSESSION AND GRANTING ADEQUATE PROTECTION AND REQUEST FOR
               PRELIMINARY HEARING (11/30/17 – 01/05/18) (Expedited Hearing Requested)

                           Case 17-34449-dwh12        Doc 21    Filed 12/06/17
              The proposed order on this motion does not contain any of the "disfavored

    provisions" listed in LBF 541.7.

                         PROPOSED TERMS OF CASH COLLATERAL ORDER:

              Debtors further propose that its authority to use Cash Collateral be limited to the

    cumulative amounts and uses of Cash Collateral as set forth in the Budget; provided

    however, that Debtors may make expenditures in excess of the amounts specified in the

    Budget subject to the limitation that the aggregate budget variance shall not exceed fifteen

    percent (15%) of the total projected expenditures under the Budget for that Budget period.

                                 PROPOSED ADEQUATE PROTECTION:

              Notwithstanding anything to the contrary contained in Section 552(a) of the Code, as

    adequate protection for, and to secure payment of, an amount equal to the aggregate

    diminution (from the petition date) in the value of the property of Debtors to which any of the

    liens of the parties identified herein shall have attached, and as security for and an

    inducement to said parties to permit use of Cash Collateral, Debtors propose to grant to

    each of them the following protection:

              a.     A replacement lien on all of the post-petition property in which each of them

                     has a pre-petition lien or security interest. The replacement liens shall have

                     the same relative priority vis-á-vis one another as existed on the petition date

                     with respect to the original liens.

              b.     Each party granted a replacement lien herein shall be granted relief from the

                     automatic stay to take all actions which may be required under federal or state

                     law in any jurisdiction to validate or perfect the liens so granted.

              c.     Debtor shall timely perform and complete all actions necessary and

                     appropriate to protect said parties’ collateral against diminution in value.
Page 5 of 6    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL OF
               DEBTOR-IN-POSSESSION AND GRANTING ADEQUATE PROTECTION AND REQUEST FOR
               PRELIMINARY HEARING (11/30/17 – 01/05/18) (Expedited Hearing Requested)

                           Case 17-34449-dwh12        Doc 21    Filed 12/06/17
                                                 NOTICE:

              Debtors have given notice, as required by Bankruptcy Rule 4001, of this motion or

    pending requisite notice of such motion.

              WHEREFORE, Debtors move for:

              1.    An Interim Order Authorizing the Use of Cash Collateral on the terms set forth

    in Exhibit A attached hereto and Granting Adequate Protection.

              2.    An Order setting a preliminary hearing on this motion upon such notice as the

    Court may direct pursuant to Bankruptcy Rule 4001(b)(3) to authorize the expenditures set

    forth on Exhibit 1 to this motion.

              3.    That the Order and each of its terms shall be effective immediately upon entry

    by the Court and the automatic stay of judgment provisions of FRBP 8017(a) shall not apply;

              4.    An Order setting a final hearing after notice on this Motion.

              Dated: December 4, 2017

                                                       VANDEN BOS & CHAPMAN, LLP


                                                       By:/s/Douglas R. Ricks
                                                         Robert J Vanden Bos, OSB #781002
                                                         Douglas R. Ricks, OSB #044026
                                                         Of Attorneys for Debtors
                                                          Steven S. and Brenda K. Sobella




Page 6 of 6    JOINT MOTION FOR INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL OF
               DEBTOR-IN-POSSESSION AND GRANTING ADEQUATE PROTECTION AND REQUEST FOR
               PRELIMINARY HEARING (11/30/17 – 01/05/18) (Expedited Hearing Requested)

                          Case 17-34449-dwh12       Doc 21    Filed 12/06/17
                          IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF OREGON

      In re                                        Bankruptcy Case Nos.:

      Steven S. Sobella                            17-34449-dwh12 (Lead Case)
      Brenda K. Sobella; and
      Sobella Nursery, Inc.,                       17-34446-dwh12

                                                   Jointly Administered Under
                                                   Case No. 17-34449-dwh12

                                                   INTERIM ORDER AUTHORIZING USE
                      Debtors.                     OF CASH COLLATERAL
                                                   (11/30/17 – 01/05/17)

              THIS MATTER came before the Court on                          , 2017 on the

      motion of the above Debtors (collectively "Debtors"), for authority to use cash collateral

      (“Motion”) (Dkt. No. ____), due and adequate notice under the circumstances having

      been given, and the Court having heard the representations and argument of counsel,

      and being otherwise fully advised

              The Court finds that the entity, Northwest Farm Credit Services, PCA (the "Lien

      Creditor"), may claim a lien in the Cash Collateral based upon the following:




Exhibit A - Page 1 of 5
                           Case 17-34449-dwh12      Doc 21    Filed 12/06/17
                Lien                           Amount
               Creditor             UCCs        Owing          Collateral         County
        Northwest Farm            7466918-1 $1,390,431.37 Nursery Stock (and Clackamas
        Credit Services, PCA      7466918-2                 products) (Farm  (County Code 03)
                                  7466918-3               Product Code 0907)

              NOW, THEREFORE, it is ORDERED as follows:

              1.      Debtors are authorized to use Cash Collateral of $87,081.00 for the period

      from November 30, 2017 through and including January 5, 2018 (the "Budget Period")

      in accordance with the attached Budget (Exhibit 1). Debtor’s authority to use Cash

      Collateral is limited to the uses of cash collateral as set forth in the Budget; together

      with a 15% cumulative variance.

              2.      As adequate protection, the Lien Creditor is granted a replacement lien

      upon all post-petition assets of the Debtors which are of the identical description to its

      prepetition collateral.

              3.      Debtors will timely perform and complete all actions necessary and

      appropriate to protect Lien Creditor’s collateral against diminution in value.

              4.      Nothing in this Order shall be construed to (a) grant a security interest in

      the Debtors’ or trustee's avoidance powers; (b) convert any prepetition obligations into

      post-petition obligations; (c) require payment of any obligations on confirmation of a

      plan of reorganization, except as otherwise provided under the Bankruptcy Code; (d)

      alter, improve, limit or impair the rights, if any, of parties claiming to have rights of

      reclamation against Debtors, or its assets or (e) enhance the secured position of any

      creditor as of the Petition Date. Further, nothing in this order shall preclude Lien

      Creditors from asserting claims for any further amounts that may be owed by the

      Debtors.




Exhibit A - Page 2 of 5
                            Case 17-34449-dwh12        Doc 21    Filed 12/06/17
              5.      Debtors’ authority to use Cash Collateral may be extended beyond the

      amount in Paragraph 1 or the Budget Period by mutual agreement of the Debtors and

      the Lien Creditor. In the event of such agreement, Debtors may submit a further order

      extending Debtors’ authority to use Cash Collateral on the same terms and conditions

      as provided herein without an additional motion or hearing. Notice of the proposed

      extension, including the applicable Budget, shall be provided to creditors and parties in

      interest with 14 days for filing objections thereto. If no objections are received, the

      extension order will take effect upon its stated date of commencement.

              6.      In the event of a default under the terms of this Order, and unless the

      Debtors cure such default within ten (10) days after receiving written notice of the

      default, the Debtors’ right to use Cash Collateral shall be terminated and the Debtors

      shall be further prohibited from using Cash Collateral without obtaining a court order

      allowing such use.

              7.      Except as otherwise authorized by an order of this Court, the Debtors shall

      deposit all funds received since the Petition Date and during the pendency of this case

      in the Debtors’ bank account or accounts and that all expenses of the Debtors during

      the pendency of this case shall be paid from such accounts. Debtors shall not prepay

      expenses except in the ordinary course of business or as authorized by a court order.

              8.      This Order does not contain any of the "disfavored provisions" listed in

      LBF #541.7.

              9.      A final hearing for consideration of Debtors’ Motion will be held on

      ____________, 201__ at __:__ _.m. before the Honorable David W. Hercher in

      Courtroom No. 3, United States Bankruptcy Court for the District of Oregon, Portland




Exhibit A - Page 3 of 5
                            Case 17-34449-dwh12       Doc 21    Filed 12/06/17
      Division, 1001 SW 5th Ave., #700 Portland, OR 97204. Counsel for the Debtor shall

      issue separate notice of the final hearing using the current version of LBF 541.

                                                  ###

              I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).


      PRESENTED BY:


      By:/s/Robert J Vanden Bos
         Robert J Vanden Bos, OSB #781002
         Douglas R. Ricks, OSB #044026
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         Of Attorneys for Debtors
         Steven S. and Brenda K. Sobella

      By:/s/Nicholas J. Henderson
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         Fax: 503-417-0528
         Email: nhenderson@portlaw.com

         Of Attorneys for Debtor
         Sobella Nursery, Inc.

      First Class Mail:

      See Attached List.

      Electronic Mail:

      The foregoing was served on all
      CM/ECF participants through the
      Court's Case Management/Electronic Case
      File system.




Exhibit A - Page 4 of 5
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